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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                          )   CHAPTER 13
                                                 )
 Tequilla Laquan Hanks,                          )   CASE NO.: 19-61565-SMS
                                                 )
          Debtor.                                )

                                CERTIFICATE OF SERVICE

        I hereby certify that I am more than 18 years of age and that I have this day served a copy
of the within documents upon the following by depositing a copy of the same in U.S. Mail with
sufficient postage affixed thereon to ensure delivery:


             Tequilla Laquan Hanks
              106 Dove Hill Circle
             Thomasville, GA 31792




       I further certify that, by agreement of parties, Mary Ida Townson, Standing Chapter 13
Trustee, was served via the ECF electronic mail/noticing system.

Dated: November 10, 2020
                                                     /s/
                                                     Araba Kwofie
                                                     GA Bar No.: 901621
                                                     The Semrad Law Firm, LLC
                                                     235 Peachtree St NE
                                                     Suite #300
                                                     Atlanta, GA 30303
                                                     (678) 668-7160
                                                     Attorney for the Debtor/Movant
                                                     atlcourtdocs@gmail.com
Case 19-61565-sms   Doc 30    Filed 11/10/20 Entered 11/10/20 11:25:13   Desc Main
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                         SUPPLEMENTAL MAILING MATRIX



                         Army and Air Force Exchange Service

                               3911 S Walton Walker Bldv

                                  Dallas, Texas 75236



                                    Liberty Mutual

                                    P.O. BOX 8400

                              Dover, New Hampshire 03821



                                        Tmobile

                                   P.O. BOX 742596

                                 Cincinnati, Ohio 45274
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                                                        Document                                          DEPT OF EDUCATION/NELN
113E-1                                               The Semrad Law Firm                                  121 S 13TH ST
Case 19-61565-sms                                    Suite 300                                            LINCOLN, NE 68508-1904
Northern District of Georgia                         235 Peachtree Street NE
Atlanta                                              Atlanta, GA 30303-1404
Tue Nov 10 11:14:37 EST 2020
Department of Justice, Tax Division                  (p)GEORGIA DEPARTMENT OF REVENUE                     Tequilla Laquan Hanks
75 Ted Turner Drive SW                               COMPLIANCE DIVISION                                  5162 Barrington Trace Dr Sw
Civil Trial Section, Southern                        ARCS BANKRUPTCY                                      Atlanta, GA 30331-9110
Atlanta, GA 30303-3315                               1800 CENTURY BLVD NE SUITE 9100
                                                     ATLANTA GA 30345-3202

I.C. SYSTEM, INC                                     IMPACT RECEIVABLES MAN                               Internal Revenue Service
PO BOX 64378                                         11104 W AIRPORT BLVD STE                             P.O. Box 7346
SAINT PAUL, MN 55164-0378                            STAFFORD, TX 77477-3035                              Philadelphia, PA 19101-7346



Internal Revenue Service - Atl                       Araba Andoh Kwofie                                   Office of the Attorney General - Atlanta
401 West Peachtree St NW Room 1665                   The Semrad Law Firm, LLC                             40 Capitol Sq Sw
ATTN: Ella Johnson, M/S 334-D                        Suite 300                                            Attn: Karrollanne K. Cayce
Atlanta, GA 30308                                    235 Peachtree Street NE                              Atlanta, GA 30334-9057
                                                     Atlanta, GA 30303-1404

Bobby Shane Palmer                                   K. Edward Safir                                      Santander Consumer USA Inc.
The Semrad Law Firm                                  Mary Ida Townson                                     PO Box 961245
Suite 300                                            Suite 1600                                           Fort Worth, TX 76161-0244
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Atlanta, GA 30303-1404                               Atlanta, GA 30303-1229

Special Assistant U.S. Attorney                      SunTrust Bank                                        Mary Ida Townson
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Suite 600                                            P.O. Box 85092                                       Suite 1600
Atlanta, GA 30308                                    Richmond, VA 23286-0001                              285 Peachtree Center Ave, NE
                                                                                                          Atlanta, GA 30303-1259

U.S. Department of Education                         UNIVERSITY OF PHOENIX                                Unifund CCR, LLC
C/O Nelnet                                           203 N LaSalle St                                     c/o Lazega & Johanson LLC
121 South 13th Street, Suite 201                     Chicago, IL 60601-1225                               PO Box 250800
Lincoln, NE 68508-1911                                                                                    Atlanta, Georgia 30325-1600


United States Attorney                               United States Attorney’s Office
Northern District of Georgia                         75 Spring Street, S.W., Suite 600,
75 Ted Turner Drive SW, Suite 600                    U.S. Courthouse
Atlanta GA 30303-3309                                Atlanta, GA 30303-3309




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue                        End of Label Matrix
1800 Century Blvd                                    Mailable recipients      22
Suite 17200                                          Bypassed recipients       0
Atlanta, GA 30345                                    Total                    22
